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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

In re: NEURONTIN MARKETING AND MDL Docket No. 1629
SALES PRACTICES LITIGATION

Master File No. 04-10981
Judge Patti B. Saris

THIS DOCUMENT RELATES TO:

THE GUARDIAN LIFE INSURANCE
COMPANY OF AMERICA vy. PFIZER INC.,
04 CV 10739 (PBS) and

AETNA, INC. V. PFIZER INC., 04 CV 10958
(PBS)

MOTION TO ADMIT COUNSEL PRO HAC VICE

Pursuant to Local Rule 83.5.3, the undersigned counsel, Peter A. Pease, hereby
moves that this Court enter an Order granting leave to Richard Bemporad of the law firm
Lowey Dannenberg Bemporad & Selinger, P.C. to appear on behalf of the plaintiffs and
practice before this Court in the above-entitled civil action.

As grounds for this motion, the undersigned represents the following:

1. Richard Bemporad is admitted to the bar of the State of New York and is
admitted to practice in the United States Court of Appeals for the Second Circuit, the

United States District Court for the Southern District of New York, the United States
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District Court for the Eastern District of New York, the United States District Court for
the District of Connecticut, the United States District Court for the District of Michigan,
and the United States District Court for the Central District of Illinois.

2. Mr. Bemporad is a member in good standing in all of the courts listed
above in paragraph 1 and there are no disciplinary proceedings pending against Mr.
Bemporad as a member of the bar in any jurisdiction.

3. Mr. Bemporad has represented to the undersigned counsel that he is
familiar with the Local Rules of the United States District Court for the District of
Massachusetts.

4. Mr. Bemporad has submitted herewith his Certification For Admission Pro

Hac Vice as required by Local Rule 83.5.3, it is attached hereto as Exhibit A.

Dated: February /0.,, 2005 Respectfully submitted,
BERMAN DEVALERIO PEASE
TABACCO BURT & PUCILLO

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RULE 7.1 CERTIFICATION

Plaintiffs sought defendants’ assent regarding this motion. Counsel for
defendants have explicitly assented to the motion.

Peter A. Pease

